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                         UNITED STATES OF AMERICA

                       WESTERN DISTRICT OF LOUISIANA

                             ALEXANDRIA DIVISION


UNITED STATES                               DOCKET NO. 04-cr-10014-02

VERSUS
                                            JUDGE DEE D. DRELL
DESMOND FLEMING                                  MAGISTRATE JUDGE JAMES D.
                                                 KIRK


                         REPORT AND RECOMMENDATION


      Before the court is a letter motion to correct sentence

(“motion”) filed on July 25, 2007, pursuant to 28 U.S.C. §2255 by

petitioner Desmond Fleming (“Fleming”) (Doc. Item 84).                    Fleming is

contesting the sentence and judgment entered pursuant to his guilty

plea in the United States District Court in the Western District of

Louisiana,      Alexandria     Division     on      one    count     of    selling,

distributing or dispensing narcotics. Fleming was sentenced to 120

months in the custody of the Bureau of Prisons.1

                             RULE 8(a) Resolution

      The court is able to resolve the merits of this Section 2255

application without the necessity of an evidentiary hearing because

there is no genuine issue of material fact that is relevant to the

claims    of   the   petitioner,   and    the     court   records     provide    the



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        On April 21, 2008 the district judge denied a motion to
reduce Fleming’s crack cocaine sentence pursuant to 18 U.S.C.
§3582 on the basis that the statutory provisions require a
mandatory minimum sentence (Doc. Item 85).
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required and adequate factual basis necessary to the resolution of

the Section 2255 application.        U.S. v. Green, 882 F.2d 999, 1008

(5th Cir. 1989), 28 U.S.C. §2255, Rule 8(a) of the Rules Governing

Section 2254 Cases in the United States District Courts.

                             Law and Analysis

      There are four grounds upon which a federal prisoner may move

to vacate, set aside or correct his sentence: (1) the sentence was

imposed in violation of the Constitution or the laws of the United

States; (2) the court was without jurisdiction to impose the

sentence; (3) the sentence exceeds the statutory maximum sentence;

or, (4) the sentence is “otherwise subject to collateral attack”.

28 U.S.C. §2255; United States v. Cates, 952 F.2d 149, 151 (5th Cir.

1992), cert. denied 504 U.S. 962, 112 S.Ct. 2319, 119 L.Ed.2d 238

(1992).   The scope of relief under Section 2255 is consistent with

that of the writ of habeas corpus.         Cates, 952 F.2d at 151.        Also,

U.S. v. Placente, 81 F.3d 555, 558 (5th Cir. 1996).

      In the instant case, Fleming filed a motion seeking to correct

his sentence and arguing that his 120 month sentence exceeds the

guideline range which should have been applied to his case, 87 to

108 months.

      A prisoner incarcerated by order of a federal court has one

year to file a motion to vacate, set aside or correct sentence

under 28 U.S.C. §2255. Section 2255(f) provides:

      A 1-year period of limitation shall apply to a motion
      under this section. The limitation period shall run from

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      the latest of-

            (1) the date on which                the   judgment    of
            conviction becomes final;

            (2) the date on which the impediment to making
            a motion created by governmental action in
            violation of the Constitution or laws of the
            United States is removed, if the movant was
            prevented from making a motion by such
            governmental action;

            (3) the date on which the right asserted was
            initially recognized by the Supreme Court, if
            that right has been newly recognized by the
            Supreme   Court    and   made   retroactively
            applicable to cases on collateral review; or,

            (4) the date on which the facts supporting the
            claim or claims presented could have been
            discovered through the exercise of due
            diligence.

      The Fifth Circuit Court of Appeals has not directly addressed

the issue of a when a judgment of conviction becomes final in the

case of a federal criminal defendant who has not sought an appeal.

The Court has, however, determined in cases where the criminal

defendant timely sought direct appeal that “the conviction becomes

final, and the one-year period begins to run, upon expiration of

the time for seeking certiorari in the U.S. Supreme Court, even

where...the appellant has not actually filed such a petition.”

United States v. Gamble, 208 F.3d 536 (5th Cir. 2000).

      Other Courts of Appeals, specifically the Second, Sixth and

Third Circuits, have held that in a case where the criminal

defendant has not appealed his conviction, such conviction is

considered    final   when   the   time    for    filing   the    direct   appeal

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expires.     Moshier v. U.S., 402 F.3d 116, 118 (2nd Cir. 2005);

Sanchez-Castellano v. U.S., 358 F.3d 424, 428 (6th Cir. 2004);

Kapral v. U.S., 166 F.3d 565, 577 (3rd Cir. 1999).

      In the instant case, Fleming was sentenced and judgment was

entered on October 19, 2005 (Doc. Items 72, 73).                   Under Rule

4(b)(1)(A)(I) of Appellate Procedure, Fleming had ten (10) days

from the entry of judgment to file his notice of appeal; however,

Fleming never filed a notice of appeal.          Thus, under the reasoning

of Moshier, Sanchez-Castellano and Kapral, the judgment would have

become final on November 2, 2005,2 the last day he could have

directly appealed his sentence.

      Under the reasoning set forth in U.S. v. Gamble, Fleming would

have had another ninety (90) days within which to file for writs of

certiorari to the Supreme Court.         Thus, his judgment of conviction

would have become final on January 31, 2006.

      Regardless of which line of cases one evaluates the instant

case, Fleming’s motion is untimely.         At the latest, he would have

had to file his Section 2255 motion on or before January 31, 2007.

However, he did not file the motion until July 25, 2007.

      Fleming states only that the district judge miscalculated the

sentence.     He does not allege that there was an impediment to

making the motion or that the government prevented him from doing


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        Pursuant to Federal Rule of Appellate Procedure 26, this
date was calculated excluding Saturdays and Sundays. No legal
holidays fell during this time period.

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so.    Further, his motion is not based on facts or rights not

readily available at the time he entered his plea.                    Accordingly,

none of the exceptions which would prolong the time period in which

he could file his motion apply in Fleming’s case.                     As such, his

motion is barred by the one year statute of limitations and should

be dismissed.

                                Conclusion

      Based on the foregoing discussion, IT IS RECOMMENDED that

Fleming’s letter motion to correct sentence be DISMISSED.

      Under   the    provisions    of       28     U.S.C.     §636(b)(1)(c)       and

Fed.R.Civ.P. 72(b), the parties have ten (10) business days from

the service of this Report and Recommendation to file specific,

written objections with the Clerk of Court.               A party may respond to

another party’s objections with ten (10) days after being served

with a copy thereof.     A courtesy copy of any objection or response

or request for extension of time shall be furnished to the District

Judge at the time of filing.      Timely objections will be considered

by the district judge before he makes a final ruling.

      A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS REPORT

WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE SHALL

BAR AN AGGRIEVED PARTY, EXCEPT ON THE GROUNDS OF PLAIN ERROR, FROM

ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS AND

LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

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      THUS DONE AND SIGNED at Alexandria, Louisiana on this 11th day

of June, 2008.




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